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                                     Exhibit A

                                  Proposed Order




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


 In re                                                       Chapter 11

 WASHINGTON MUTUAL, INC., et al.,1                           Case No. 08-12229 (MFW)

                   Reorganized Debtors.                      Re: D.I. No. ___



         ORDER GRANTING THE TRUST LEAVE TO FILE AND SERVE
 REPLY IN SUPPORT OF THE MOTION TO REOPEN AND MOTION TO ENFORCE

         Upon the motion, dated June 10, 2021 (the “Motion for Leave”)2 of the Trust for entry of

an order, pursuant to Local Rule 9006-1(d), granting the Trust leave and permission to file and

serve the Reply in support of the Motions, as more fully described in the Motion for Leave; and

the Court having reviewed the Motion for Leave; and the Court having jurisdiction to consider

the Motion for Leave and the relief requested therein in accordance with 28 U.S.C. §§ 157 and

1334 and the Amended Standing Order of Reference from the United States District Court for the

District of Delaware, dated February 29, 2012; and the Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2) and that this Court may enter an order consistent

with Article III of the United States Constitution; and the Court having found that venue of this

proceeding and the Motion for Leave in this district is proper pursuant to 28 U.S.C. §§ 1408 and

1409; and it appearing that proper and adequate notice of the Motion for Leave has been given

and that no other or further notice is necessary; and upon the record herein; and after due

deliberation and sufficient cause appearing therefore,


1
   The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: (i) Washington Mutual, Inc. (3725); and (ii) WMI Investment Corp. (5395). The
Reorganized Debtors had a former address of 1201 Third Avenue, Suite 3000, Seattle, Washington 98101.
2
  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
Motion for Leave.



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         IT IS HEREBY ORDERED THAT:

         1.        The Motion for Leave is GRANTED as set forth herein.

         2.        The Trust is granted leave and permission to file and serve the Reply, and the

Court will consider the Reply.

         3.        The Trust is authorized to take all actions necessary or appropriate to effectuate

the relief granted pursuant to this Order.

         4.        The Court shall retain jurisdiction with respect to any matters, claims, rights or

disputes arising from or related to this Order.




                                                   2
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